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                       UNITED STATES DISTRICT COURT
                         DISTRICT OF SOUTH DAKOTA
                                 NORTHERN DIVISION




 UNITED STATES OF AMERICA,                 CR 20-


                    Plaintiff,
                                           FACTUAL BASIS STATEMENT
      vs.



 DEAN MINNERATH,

                    Defendant.



      The Defendant states that the following facts are true, and the parties

agree that they establish a factual basis for the offense to which the Defendant

is pleading guilty pursuant to Fed. R. Crim. P. 11(b)(3):

      Dean Minnerath, a South Dakota resident, owned and operated a

business known as Discount Seeds,Inc. When Dean Minnerath filed his 2014

Form 1040 on July 1, 2015, he knew that it understated his income,and thus,

understated the amount of tax due and owing. Minnerath understated his

income ty claiming personal expenses were business expenses. By using this

method, the 2014 income tax return understated the Minnerath's income ty

failing to include at least $1,000,000 in income he received.        Minnerath

therefore understated the tax due and owing by at least $404,445. When he

signed his income tax return, he verified by a written declaration that it was

made under the penalties of perjury and which he did not believe to be true

and correct as to every material matter.

      All of this occurredin violation of 26 U.S.C. § 7206(1).
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                                  RONALD A. PARSONS,JR.
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  //-
 Date                             DeanMinnera
                                  Defendant




   11-30-2020

 Date




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